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1                           UNITED STATES DISTRICT COURT
2                           FOR THE DISTRICT OF COLUMBIA
3
                                            )
4    UNITED STATES OF AMERICA               )
                                            )
5    vs.                                    ) Docket # 22-CR-00306 (JMC)
                                            )
6    WILLIAM KIT                            )
                                            )
7                        Defendant          )
                                            )
8                                           )
9

10                MOTION FOR LEAVE TO LATE-FILE AND

11         DEFENDANT’S MEMORANDUM IN AID OF SENTENCING

12             COMES NOW Mr. William Kit, Defendant, by and through his

13   undersigned Counsel, and respectfully states as follows:

14          1. That Counsel had recently come down with the flu, and had to take

15             several days leave while he recuperated.

16          2. Counsel respectfully seeks leave to late-file this Memorandum for

17             medical reasons.

18          3. In the interests of brevity, only a brief Memorandum in Aid of

19             Sentencing is offered in this matter.

20          4. Mr. Kit does not object to the calculations of the Guidelines by the

21             writer of the PreSentence Investigation Report. (Hereinafter

22             referred to as "PSR.")

23          5. He accepted full responsibility in this matter and took an “early”

24             plea before the Court, a brief time after the plea being offered to

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1            him by the prosecution. The plea consisted of two Misdemeanor

2            charges, in this Court and at the Superior Court.

3         6. The American Bar Association has suggested that Judges can show

4            leniency to Defendants who take an early plea and save the Court

5            and the prosecution considerable time and resources.

6         7. Given this acknowledgement, Mr. Kit states that his conduct was an

7            aberration on both occasions, and was prompted by the influence of

8            peers and his emotion simply carried him away on January 6, 2021.

9            Moreover, Mr. Kit runs three small business and carries funds on his

10           person, as a result he had a weapon on his person on July 29, 2022

11           for personal safety.

12        8. Mr. Kit further indicates to the Court that he will engage in lawful

13           conduct in the future, having learnt the error of his ways.

14        9. Mr. Kit requests the Court to sentence him at the low end of the

15           agreement of the parties, to a probationary disposition.

16        10.   Mr. William Kit seeks the leniency of the Court.

17
     Dated this 24th day of March, 2023.
18

19                                               Respectfully Submitted,

20                                                    Atiq R. Ahmed
21
                                                 ____________________________
                                                 Atiq R. Ahmed, Esquire (#390419)
22                                               601 Pennsylvania Avenue, N.W.,
                                                 South Building, Suite 900
23                                               Washington D. C. 20004
                                                 (202) 710-4929
24
                                                 Counsel for Mr. W. Kit
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2    CERTIFICATE OF SERVICE

3
           I hereby certify that on this 24th day of March, 2023 a copy of the
4    foregoing pleading was furnished by the Court’s e-filing system to:

5    Office of the United States Attorney
     Attn: J. Hutton Marshall, Esquire
6                                                  Atiq R. Ahmed
                                                   ____________________
7                                                  Atiq R. Ahmed, Esquire

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